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  MORGAN, LEWIS & BOCKIUS LLP
  101 Park Avenue
  New York, New York 10178-0600
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  Craig A. Wolfe, Esq.

  Counsel to Sun Capital Management IV, LLC
  and SKO Group Holding, LLC

                           UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEBRASKA

  In re:                                                      Chapter   11

  SPECIAL TY RET AIL SHOPS HOLDING                            Case No. 19-80064 (TLS)
  CORP., et ai.,
                                                              (Jointly Administered)
                                Debtors.

                        NOTICE OF APPEARANCE, REQUEST FOR
                   SERVICE OF PAPERS AND RESERVATION OF RIGHTS

            PLEASE TAKE NOTICE that the undersigned appears for Sun Capital Management

  IV, LLC and SKO Group Holding, LLC (collectively, "Sun") and pursuant to Rules 2002 and

  3017(a) of the Rules of Bankruptcy Procedure and 11 U.S.C. § 1109(b) requests that all notices

 given or required in this case, and all documents, and all other papers served in this case, be

 given to and served upon:

                               Craig A. Wolfe, Esq.
                               MORGAN, LEWIS & BOCKIUS LLP
                               101 Park Avenue
                               New York, New York 10178-0600
                               Telephone: (212) 309-6000
                               Facsimile: (212) 309-6001
                               Email: craig.wolfe@morganlewis.com
                                       - and-
                               Andrew Gallo, Esq.
                               MORGAN, LEWIS & BOCKIUS LLP
                               225 Franklin Street
                               Boston, MA 02110
                               Telephone: (617) 341-7700
                               Facsimile: (617) 341-7701
                               Email: andrew.gallo@morganlewis.com
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            PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the

  Bankruptcy Code, the foregoing request includes not only the notices and papers referred to in

  the rule specified above but also includes, without limitation, orders and notices of any

  application, motion, petition, pleading, request, complaint or demand, whether formal or

  informal, whether written or oral, and whether transmitted or conveyed by mail, delivery,

  telephone, electronically or otherwise, which affects the Debtors or the property of the Debtors.

            PLEASE TAKE FURTHER NOTICE that neither this notice nor any later appearance,

 pleading, claim, or suit constitutes a waiver of any right (1) to have final orders entered only after

  de novo review by a District Judge, (2) to trial by jury in any proceeding so triable in this case or

 any case, controversy, or proceeding related to this case, (3) to have the District Court withdraw

 the reference in any matter subject to mandatory or discretionary withdrawal, or (4) to any other

 rights, claims, actions, defenses, setoffs, or recoupments to which Sun is or may be entitled under

 agreements, in law or in equity, all of which rights, claims, actions, defenses, setoffs and

 recoupments are expressly reserved.

 Dated: New York, New York                       Respectfully submitted,
        March 19,2019
                                                MORGAN, LEWIS & BOCKIUS LLP
                                                Counsel to Sun Capital Management IV, LLC
                                                and SKO Group Holding, LLC

                                                By: Is/Craig A. Wolfe
                                                    Craig A. Wolfe

                                                        101 Park Avenue
                                                        New York, New York 10178-0600
                                                        Telephone: (212) 309-6000
                                                        Facsimile: (212) 309-6001




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                                  CERTIFICATE OF SERVICE

         I hereby certify that I filed the above and foregoing on March 19, 2019, with the Clerk of
  Bankruptcy Court using the CM/ECF system which sent notification to all CM/ECF participants.

                                                      lsi Craig A. Wolfe
                                                      Craig A. Wolfe




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